83 F.3d 414
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.George Davis BOLLIN, Plaintiff-Appellant,v.EDGEFIELD COUNTY SHERIFF'S DEPARTMENT, Edgefield, SouthCarolina, Defendant-Appellee.
    No. 95-7689.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 15, 1996.Decided:  April 25, 1996.
    
      Appeal from the United States District Court for the District of South Carolina, at Greenville.   Dennis W. Shedd, District Judge.  (CA-95-301-6-19AK)
      George Davis Bollin, Appellant Pro Se.  Vinton DeVane Lide, Michael Stephen Pauley, LIDE, MONTGOMERY, POTTS &amp; MEDLOCK, P.C., Columbia, South Carolina, for Appellee.
      D.S.C.
      AFFIRMED.
      Before ERVIN and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Bollin v. Edgefield County Sheriff's Dep't, No. CA-95-301-6-19AK (D.S.C. Sept. 28, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    